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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                  )
                                            )
       Plaintiffs,                          )
                                            )
v.                                          )          Case No. 16-2105-JAR-JPO
                                            )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, )
                                            )
       Defendant.                           )
___________________________________ )


 DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION TO CLARIFY OR MODIFY
                        THE TRIAL ORDER

       Plaintiffs’ Motion to Clarify contains no legal support that would allow them to ask for a

modification of an order made seven months ago during trial, nor does their Memorandum.

Although some courts would deny their motion on this basis alone, Defendant will address the

merits of the motion despite its uncertain validity.

       Defendant opposes Plaintiffs’ motion because the record is clear that the videotape is not

a public record and that it remains under the protective order entered in this case. Defendant

incorporates by reference herein its Reply brief filed this date, and will also address each of the

brief assertions found in Plaintiffs’ motion.

I.     No Valid Basis Exists to Modify the Court’s Order

       There is no grounds for modifying the court’s order on the “status” of the videotape. It

was made very clear at trial. Further, relief from a court order can be granted by a court only for

one of the following reasons:

       (1) Mistake, inadvertence, surprise or excusable neglect;




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       (2) newly discovered evidence that, with reasonable diligence, could not have been
       discovered in time to move for a new trial under subsection (b) of K.S.A. 60-259,
       and amendments thereto;

       (3) fraud, whether previously called intrinsic or extrinsic, misrepresentation or
       misconduct by an opposing party;

       (4) the judgment is void;

       (5) the judgment has been satisfied, released or discharged; it is based on an earlier
       judgment that has been reversed or vacated; or applying it prospectively is no longer
       equitable; or

       (6) any other reason that justifies relief.

Kan. Stat. Ann. § 60-260 (West).

       Here, the Plaintiff has not identified nor argued that even one of these reasons applies. All

Plaintiffs rely on for seeking a modification is its current desire to disseminate the videotape to the

media. That does not fall into any of the very weighty reasons listed to overhaul a valid court

order that has been in place for seven months without objection.

II.    The Solitary Case Plaintiffs Rely On Does Not Support Their Position

       In their motion, Plaintiffs cite Oklahoma Hosp. Ass’n v. Oklahoma Pub. Co., 748 F.2d

1421 (10th Cir. 1984) for the proposition that they have a constitutionally protected right to

disseminate materials that were “admitted publicly and played in open court.” However, Plaintiffs

omit key modifying language from their citation which is: “absent a valid protective order.” Id. at

1424. In other words, the case does not hold that they can disseminate anything “admitted publicly

and played in open court,” which is a very vague and ambiguous statement in its own right.

Admitted publicly could refer to something admitted by a witness, nor can something be admitted

privately so their word choice begs for clarity. Regardless, the holding in this case clearly exempts

it from applying where, as here, a valid protective order is in force. Id. This modifying phrase

completely changes the holding and does not support the argument Plaintiff attempts to make.




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III.   Protective Order Applies

       In addition, as explained in Defendant’s Reply at pages 9-10 and incorporated herein by

reference, the protective order filed in this case on March 29, 2016, remains in force by its express

language. See Doc. 55, Point 10(a). Further, the assertion that “the Protective Order explicitly

does not apply to trial evidence” is simply wrong. As explained in Defendant’s Reply, the

language of the order confirms that it continues to protect confidential documents up to the trial

court orders otherwise. Doc. 55, Point 9.

IV.    No Case Precedent Argument Because Videotape Was Not Admitted Into Evidence

       Last, Plaintiffs refer to case precedent as a reason to go back and rewrite the Court’s ruling

during trial, however, none of the cases identified in their Response are new, or controlling.

Further, they all rest on the faulty premise that because the videotape itself was “played publicly”

and admitted into evidence for three days before it was withdrawn, this somehow negates all of

the Court’s rulings that restricted access to the videotape and kept it out of the public record and

public domain. Put another way, the basis of Plaintiffs’ entire argument depends on accepting

their juxtaposition that the videotape can be simultaneously not a judicial record so it is not

available to the public, yet be public because it was “played publicly” and thus available for them

to disseminate. It cannot be both.

       The reality is that the Plaintiffs lost this argument at trial when the Court held that the

videotape was not a judicial record, which would have instantly made it available to the public.

As a result, Plaintiffs have to argue out of both sides of their mouth that the videotape is somehow

public, even though the Court held that it was not.

                                         CONCLUSION




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       The videotape was not made public and Plaintiffs are bound by the protective order to

refrain from disseminating it to the media. Additionally, Plaintiffs have failed to offer one reason

recognized by the rules to modify a court order seven months after it was made. For these reasons,

Defendant respectfully requests the Court to deny Plaintiffs’ Motion.



Date: October 12, 2018                                 Respectfully submitted,

                                                       /s/ Sue Becker
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                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 12th day of October, 2018, I electronically

filed the above and foregoing document using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.



                                               /s/ Sue Becker
                                               Sue Becker
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